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 1                                                                    David W. Christel, U.S. Magistrate Judge

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 6
                                 UNITED STATES DISTRICT COURT
 7                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 8
     ALYSHA E. CHANDRA,                                 NO. 3:20-cv-05787-DWC
 9
                                          Plaintiff,
10
             vs.                                        DEFENDANTS' ANSWER TO PLAINTIFF'S
11                                                      COMPLAINT
     PIERCE COUNTY PROSECUTOR'S                         JURY DEMAND
12
     OFFICE and MARY ROBNETT,
     individually,
13

14                                     Defendants.

15                                             I.      ANSWER

16           COME NOW Defendants Pierce County Prosecutor's Office and Mary Robnett, by and

17   through their attorney of record, Jana R. Hartman, Deputy Prosecuting Attorney, and make the

18   following Answer to Plaintiff’s Complaint. These answering Defendants deny each and every

19   allegation of Plaintiff's Complaint not specifically admitted to herein.

20           1.1        In answer to paragraph 1 of Plaintiff's Complaint, this paragraph does not state

21   factual allegations to which an answer is required. To the extent an answer is required,

22   Defendants admit.

23

24

     DEFENDANTS' ANSWER TO PLAINTIFF'S COMPLAINT - 1                 Pierce County Prosecuting Attorney/Civil Division
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 1           1.2        In answer to paragraph 2 of Plaintiff's Complaint, this paragraph is an

 2   incomplete sentence and does not appear to state factual allegations to which an answer is

 3   required. To the extent an answer is required, Defendants deny.

 4           1.3        In answer to the allegations contained in paragraph 3 of Plaintiff's Complaint,

 5   the Defendants admit Ms. Chandra was an employee of Defendants. Defendants are without

 6   knowledge or information sufficient to admit or deny the remaining allegations contained in

 7   paragraph 3, and therefore deny the same.

 8           1.4        In answer to the allegations contained in paragraph 4 of Plaintiff's Complaint,

 9   Defendants deny.

10           1.5        In answer to the allegations contained in paragraph 5 of Plaintiff's Complaint,

11   Defendants admit.

12           1.6        In answer to the allegations contained in paragraph 6 of Plaintiff's Complaint,

13   Defendants admit.

14           1.7        In answer to the allegations contained in paragraph 7 of Plaintiff's Complaint,

15   Defendants deny.

16           1.8        In answer to the allegations contained in paragraph 8 of Plaintiff's Complaint,

17   Defendants are without knowledge or information sufficient to admit or deny the allegations in

18   paragraph 8, and therefore deny the same.

19           1.9        In answer to the allegations contained in paragraph 9 of Plaintiff's Complaint,

20   this paragraph states a legal conclusion to which no answer is required. To the extent an answer

21   is required, Defendants admit.

22           1.10       In answer to the allegations contained in paragraph 10 of Plaintiff's Complaint,

23   this paragraph states a legal conclusion to which no answer is required. To the extent an answer

24   is required, Defendants deny.

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 1           1.11       In answer to the allegations contained in paragraph 11 of Plaintiff's Complaint,

 2   this paragraph states a legal conclusion to which no answer is required. To the extent an answer

 3   is required, Defendants admit.

 4           1.12       In answer to the allegations contained in paragraph 12 of Plaintiff's Complaint,

 5   Defendants admit.

 6           1.13       In answer to the allegations contained in paragraph 13 of Plaintiff's Complaint,

 7   Defendants admit.

 8           1.14       In answer to the allegations contained in paragraph 14 of Plaintiff's Complaint,

 9   Defendants admit.

10           1.15       In answer to the allegations contained in paragraph 15 of Plaintiff's Complaint,

11   Defendants admit.

12           1.16       In answer to the allegations contained in paragraph 16 of Plaintiff's Complaint,

13   Defendants admit that Ms. Chandra emailed Deputy Prosecuting Attorney (DPA) Diana Chen

14   about joining the military. Defendant denies the remaining allegations contained in paragraph

15   16.

16           1.17       In answer to the allegations contained in paragraph 17 of Plaintiff's Complaint,

17   Defendants admit.

18           1.18       In answer to the allegations contained in paragraph 18 of Plaintiff's Complaint,

19   Defendants are without knowledge or information sufficient to admit or deny the allegations

20   contained in paragraph 18, and therefore deny the same.

21           1.19       In answer to the allegations contained in paragraph 19 of Plaintiff's Complaint,

22   Defendants are without knowledge or information sufficient to admit or deny the allegations

23   contained in paragraph 19, and therefore deny the same.

24

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 1           1.20       In answer to the allegations contained in paragraph 20 of Plaintiff's Complaint,

 2   Defendants deny.

 3           1.21       In answer to the allegations contained in paragraph 21 of Plaintiff's Complaint,

 4   Defendants deny the described email exchange occurred on April 23, 2020. Defendants admit

 5   the remaining allegations contained in paragraph 21..

 6           1.22       In answer to the allegations contained in paragraph 22 of Plaintiff's Complaint,

 7   Defendants deny.

 8           1.23       In answer to the allegations contained in paragraph 23 of Plaintiff's Complaint,

 9   Defendants deny.

10           1.24       In answer to the allegations contained in paragraph 24 of Plaintiff's Complaint,

11   Defendants admit Ms. Chandra had a phone conversation with Diana Chen where Ms. Chen

12   mentioned an employee named Patrick Vincent who was a member of the military. Defendants

13   deny the remaining allegations contained in paragraph 24.

14           1.25       In answer to the allegations contained in paragraph 25 of Plaintiff's Complaint,

15   this paragraph is vague as to "the above email." Defendants admit that Ms. Chandra asked for a

16   letter from the defendant. Defendants denies the remaining allegations contained in paragraph

17   25.

18           1.26       In answer to the allegations contained in paragraph 26 of Plaintiff's Complaint,

19   Defendants deny.

20           1.27       In answer to the allegations contained in paragraph 27 of Plaintiff's Complaint,

21   Defendants deny.

22           1.28       In answer to the allegations contained in paragraph 28 of Plaintiff's Complaint,

23   Defendants admit that Ms. Chen told Ms. Chandra that she was "kind of shocked" and did not

24   foresee this happening. Defendants deny the remaining allegations contained in paragraph 28.

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 1           1.29       In answer to the allegations contained in paragraph 29 of Plaintiff's Complaint,

 2   Defendants are without knowledge or information sufficient to admit or deny the allegations in

 3   paragraph 29, and therefore deny the same.

 4           1.30       In answer to the allegations contained in paragraph 30 of Plaintiff's Complaint,

 5   Defendants are without knowledge or information sufficient to admit or deny the allegations in

 6   paragraph 30, and therefore deny the same.

 7           1.31       In answer to the allegations contained in paragraph 31 of Plaintiff's Complaint,

 8   Defendants admit that in May 2020 Diane Clarkson sent Ms. Chandra an email that stated to

 9   "continue your good work." Defendants deny the remaining allegations contained in paragraph

10   31.

11           1.32       In answer to the allegations contained in paragraph 32 of Plaintiff's Complaint,

12   Defendants admit.

13           1.33       In answer to the allegations contained in paragraph 33 of Plaintiff's Complaint,

14   Defendants deny.

15           1.34       In answer to the allegations contained in paragraph 34 of Plaintiff's Complaint,

16   Defendants admit.

17           1.35       In answer to the allegations contained in paragraph 35 of Plaintiff's Complaint,

18   Defendants deny.

19           1.36       In answer to the allegations contained in paragraph 36 of Plaintiff's Complaint,

20   Defendants deny.

21           1.37       In answer to the allegations contained in paragraph 37 of Plaintiff's Complaint,

22   Defendants deny.

23           1.38       In answer to the allegations contained in paragraph 38 of Plaintiff's Complaint,

24   Defendants deny.

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 1           1.39       In answer to the allegations contained in paragraph 39 of Plaintiff's Complaint,

 2   Defendants deny.

 3           1.40       In answer to the allegations contained in paragraph 40 of Plaintiff's Complaint,

 4   Defendants admit.

 5           1.41       In answer to the allegations contained in paragraph 41 of Plaintiff's Complaint,

 6   Defendants admit Ms. Chen stated that she encouraged military service. Defendants deny the

 7   remaining allegations contained in paragraph 41.

 8           1.42       In answer to the allegations contained in paragraph 42 of Plaintiff's Complaint,

 9   Defendants admit.

10           1.43       In answer to the allegations contained in paragraph 43 of Plaintiff's Complaint,

11   Defendants admit.

12           1.44       In answer to the allegations contained in paragraph 44 of Plaintiff's Complaint,

13   Defendants admit.

14           1.45       In answer to the allegations contained in paragraph 45 of Plaintiff's Complaint,

15   Defendants admit.

16           1.46       In answer to the allegations contained in paragraph 46 of Plaintiff's Complaint,

17   Defendants deny.

18           1.47       In answer to the allegations contained in paragraph 47 of Plaintiff's Complaint,

19   Defendants deny.

20           1.48       In answer to the allegations contained in paragraph 48 of Plaintiff's Complaint,

21   Defendants deny.

22           1.49       In answer to the allegations contained in paragraph 49 of Plaintiff's Complaint,

23   Defendants deny.

24

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 1           1.50       In answer to the allegations contained in paragraph 50 of Plaintiff's Complaint,

 2   Defendants deny.

 3           1.51       In answer to the allegations contained in paragraph 51 of Plaintiff's Complaint,

 4   Defendants admit they are prohibited from discriminating against veterans and military service

 5   members. Defendants deny the remaining allegations contained in paragraph 51.

 6           1.52       In answer to the allegations contained in paragraph 52 of Plaintiff's Complaint,

 7   Defendants admit.

 8           1.53       In answer to the allegations contained in paragraph 53 of Plaintiff's Complaint,

 9   Defendants deny.

10           1.54       In answer to the allegations contained in paragraph 54 of Plaintiff's Complaint,

11   this paragraph contains a legal conclusion to which no answer is required. To the extent an

12   answer is required, Defendants deny.

13           1.55       In answer to the allegations contained in paragraph 55 of Plaintiff's Complaint,

14   Defendants admit.

15           1.56       In answer to the allegations contained in paragraph 56 of Plaintiff's Complaint,

16   Defendants admit they have access to the provisions of USERRA and the laws of the state of

17   Washington. Defendants deny the remaining allegations contained in paragraph 56.

18           1.57       In answer to the allegations contained in paragraph V(1) of Plaintiff's

19   Complaint, this paragraph states a legal conclusion requiring no answer.

20           1.58       In answer to the allegations contained in paragraph V(2) of Plaintiff's

21   Complaint, Defendants deny as written.

22           1.59       In answer to the allegations contained in paragraph V(3) of Plaintiff's

23   Complaint, Defendants deny.

24

     DEFENDANTS' ANSWER TO PLAINTIFF'S COMPLAINT - 7                 Pierce County Prosecuting Attorney/Civil Division
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 1           1.60       In answer to the allegations contained in paragraph V(4) of Plaintiff's

 2   Complaint, Defendants deny.

 3           1.61       In answer to the allegations contained in paragraph V(5) of Plaintiff's

 4   Complaint, this paragraph states a legal conclusion requiring no answer.

 5           1.62       In answer to the allegations contained in paragraph V(6) of Plaintiff's

 6   Complaint, Defendants deny as written.

 7           1.63       In answer to the allegations contained in paragraph V(7) of Plaintiff's

 8   Complaint, Defendants deny.

 9           1.64       In answer to the allegations contained in paragraph V(8) of Plaintiff's

10   Complaint, Defendants deny.

11           1.65       In answer to the allegations contained in paragraph V(9) of Plaintiff's

12   Complaint, this paragraph contains a legal conclusion requiring no answer.

13           1.66       In answer to the allegations contained in paragraph V(10) of Plaintiff's

14   Complaint, Defendants deny.

15           1.67       In answer to the allegations contained in paragraph V(11) of Plaintiff's

16   Complaint, Defendants deny.

17           1.68       Defendants deny that Plaintiff is entitled to any of the relief requested in

18   Section V, Prayer for Relief.

19                          II.      AFFIRMATIVE AND OTHER DEFENSES

20           FURTHER, AND BY WAY OF AFFIRMATIVE AND OTHER DEFENSES, AND

21   ALL OTHER MATTERS OF AVOIDANCE, DEFENDANTS PIERCE COUNTY

22   PROSECUTOR'S OFFICE AND MARY ROBNETT ALLEGE AS FOLLOWS:

23           2.1        If Plaintiff suffered any injury or damages, recovery therefor is barred or

24   mitigated by Plaintiff's failure to mitigate said damages.

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 1             2.2      The Defendants had legitimate and non-discriminatory reasons and causes for

 2   their actions.

 3             2.3      The employer's circumstances have changed so that retention of the Plaintiff

 4   would be impossible or unreasonable.

 5             2.4      The employer would have taken the same action regardless of the Plaintiff's

 6   connection with service.

 7                                     III.    PRAYER FOR RELIEF

 8             WHEREFORE, having fully answered Plaintiff's said Complaint, Defendants pray the

 9   Court for the following relief:

10             3.1      That Plaintiff's Complaint be dismissed with prejudice;

11             3.2      That Defendants be awarded their costs and reasonable attorney fees incurred

12   herein;

13             3.3      That Defendants be allowed to reserve the right to amend this Answer to assert

14   such cross-claims, counterclaims, and/or third party claims as during the course of discovery

15   herein becomes proper;

16             3.4      For such other and further relief as may appear just and equitable in the

17   premises.

18             DATED this 28th day of August, 2020.

19                                                     MARY E. ROBNETT
                                                       Prosecuting Attorney
20
                                                       s/ JANA R. HARTMAN
21                                                     JANA R. HARTMAN, WSBA # 35524
                                                       Pierce County Prosecutor / Civil
22                                                     955 Tacoma Avenue South, Suite 301
                                                       Tacoma, WA 98402-2160
23                                                     Ph: 253-798-7748 / Fax: 253-798-6713
                                                       jana.hartman@piercecountywa.gov
24

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 1                                     CERTIFICATE OF SERVICE

 2         On August 28, 2020, I hereby certify that I electronically filed the foregoing
     DEFENDANTS' ANSWER TO PLAINTIFF'S COMPLAINT with the Clerk of the Court using
 3   the CM/ECF system which will send notification of such filing to the following:

 4       •   Thomas G. Jarrard: TJarrard@att.net
         •   John M Tymczyszyn: JohnT@JohnTLaw.com, john.tymczyszyn@gmail.com
 5
                                                        s/ CHRISTINA WOODCOCK
 6                                                      CHRISTINA WOODCOCK
                                                        Legal Assistant
 7                                                      Pierce County Prosecutor's Office
                                                        Civil Division, Suite 301
 8                                                      955 Tacoma Avenue South
                                                        Tacoma, WA 98402-2160
 9                                                      Ph: 253-798-7732 / Fax: 253-798-6713
                                                        christina.woodcock@piercecountywa.gov
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